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               EXHIBIT 2
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Reg. No. 5,174,206           Flowbee Australia Pty Ltd (AUSTRALIA proprietary limited company (p/l or pty. ltd.) )
                             17A Rifle Range Road
Registered Apr. 04, 2017     Bangalow, NSW AUSTRALIA 2479

                             CLASS 20: Beehives; structural parts for beehives, namely, sections of wood for beehives;
Int. Cl.: 20, 35             honeycombs; beehive structural parts, namely, tops, entrances, frames, moveable hive floors,
                             queen bee excluders in the nature of vertical barriers, pollen collectors, plastic hive frames,
Service Mark                 hive corners, hive frame spacers, hive doors, hive cover slides, honeycomb sectioners,
                             propolis collectors, plastic hive floors, plastic hive covers, hive entrance trays, queen bee
Trademark                    cages and hive legs; beehives sold unassembled in a kit; woodenware in the nature of wood
                             panels and parts for use in the manufacture of beehive boxes; component parts of beehives,
Principal Register           namely, tubes, tube caps, hive keys; beehive frames; hive bodies; hive foundations; hive
                             boxes; hive tops; hive bottoms; beehive structural parts, namely, comb foundations, in-hive
                             feeders, entrance feeders, hive grips, bee brushes, queen excluders, and frame grips

                             CLASS 35: Retailing of goods, namely, online retail store services featuring beekeeping
                             equipment and supplies; Wholesaling of goods, namely, wholesale store and online wholesale
                             store services featuring beekeeping equipment and supplies; The bringing together, for the
                             benefit of others, of a variety of goods, excluding the transport thereof, enabling customers to
                             conveniently view and purchase the goods, all in the field of beekeeping equipment and
                             supplies; The bringing together, for the benefit of others, of a variety of goods, excluding the
                             transport thereof, enabling customers to conveniently view and purchase the goods online by
                             means of a website, all in the field of beekeeping equipment and supplies

                             PRIORITY CLAIMED UNDER SEC. 44(D) ON AUSTRALIA APPLICATION NO.
                             1696144, FILED 05-26-2015, REG. NO. 1696144, DATED 02-23-2016, EXPIRES
                             05-26-2025

                             The mark consists of three chevrons stacked on top of each other with a stylized drop falling
                             from the tip of the lowest chevron.

                             SER. NO. 86-832,830, FILED 11-26-2015
                             LIEF ANDREW MARTIN, EXAMINING ATTORNEY
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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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